  Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 1 of 26 PageID #:1



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

BOARD OF DIRECTORS OF THE              )
GRAND BEAR LAKES TOWNHOME              )
ASSOCIATION,                           )
an Illinois not-for-profit corporation,)
                                       )
                        Plaintiff,     )           Case No.
                                       )
        v.                             )           Hon. ___________________
                                       )
GRAND BEAR LODGE, LLC,                 )           Magistrate Judge _________
an Illinois limited liability company; )
JOSEPH F. HOOK, an individual; KEITH )
WOLICK, an individual; SUSANWOLICK, )
an individual, and COUNTRYSIDE BANK, )
an Illinois State chartered bank,      )
                                       )
                        Defendants.    )

                                     COMPLAINT

       Plaintiff, Board of Directors of the Grand Bear Lakes Townhome Association

(“Board”), by and through its attorneys Kevin A. Sterling, Steven D. Welhouse and Laura

Newcomer Cohen, for its Complaint against Grand Bear Lodge, LLC (“Grand Bear

Lodge”) and Joseph F. Hook (“Hook”), Keith Wolick (“K. Wolick”),Susan Wolick (“S.

Wolick”) and Countryside Bank, an Illinois State chartered bank (collectively,

“Defendants”), alleges as follows:

                             NATURE OF THE ACTION

       1.     This action is brought to: (1) recover monies paid by the Grand Bear Lakes

Townhome Association’s (“Association”) members as Association assessments that were

wrongfully collected and held by Defendants in their unlawful capacities as community

association managers for the Association; (2) seek an accounting of the monies wrongfully
  Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 2 of 26 PageID #:2



collected and held by Defendants in their unlawful capacities as community association

managers for the Association; and (3) seek a constructive trust of monies wrongfully

collected and held by Defendants in their unlawful capacities as community association

managers for the Association.

                                        PARTIES

       2.      The Board of Directors of the Grand Bear Lakes Townhome Association is

the governing body for the Grand Bear Lakes Townhome Association, an Illinois not-for-

profit corporation and townhome association comprised of 88 townhomes located in Utica,

Illinois. By virtue of the recording of the Declaration of Party Wall Rights, Covenants,

Conditions, Restrictions and Easements for Grand Bear Lakes Townhomes, recorded as

Document number R2005-17997 by the LaSalle County, Illinois, Recorder, the

Association is a common interest community as defined under the Illinois Common Interest

Community Association Act (“CICAA”), 765 ILCS 160/1-1, et seq. Pursuant to Section

1-30(j) of the CICAA), the Board has standing to litigate this matter on behalf of the

Association because it involves the common elements of and more than one unit in the

Association.

       3.      Grand Bear Lodge LLC (“Grand Bear Lodge”) is an Illinois limited liability

company with its principal place of business in Utica, Illinois.

       4.      Joseph F. Hook is an individual and member, or owner of a beneficial

interest in, and manager of Grand Bear LLC who, on information and belief, resides in

Homer Glen, Illinois.




                                                 2
  Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 3 of 26 PageID #:3



        5.        Keith Wolick is an individual and member, or owner of a beneficial interest

in, and manager of Grand Bear LLC who, on information and belief, resides in Orland

Park, Illinois.

        6.        Susan Wolick is an individual and member, or owner of a beneficial

interest in, and manager of Grand Bear LLC who, on information and belief, resides in

Orland Park, Illinois.

        7.        Countryside Bank is an Illinois State chartered bank located at 6734 Joliet

Road Countryside, Illinois.

                                      JURISDICTION

        8.        This Court has jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1331

because there is a federal question involved under the federal civil Racketeer Influenced

and Corrupt Organizations Act (“RICO), 18 U.S.C. §§ 1961, et seq.

                                 STATEMENT OF FACTS

        9.        In May 2004, the Association entered into a Management Agreement with

Grand Bear Lodge whereunder Grand Bear Lodge would serve as the community

association manager for the Association.

         10.      In its capacity as the Association’s community association manager, Grand

Bear Lodge collected assessments from the Association’s unit owners, paid certain of the

Association’s bills, and otherwise managed the Association purportedly pursuant to the

Management Agreement.

        11.       Grand Bear Lodge’s collection of assessments from the Association’s unit

owners on an annual basis totaled approximately $210,000.




                                                   3
  Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 4 of 26 PageID #:4



        12.    In January 2011, Grand Bear Lodge filed for Chapter 11 bankruptcy in the

United States District Bankruptcy Court for the Northern District of Illinois District, Case

No. 11-02321, and the Bankruptcy Court granted Grand Bear Lodge’s petition to

restructure approximately $10 million in debt.

       13.     Apart from certain of its debts being restructured to allow Grand Bear

Lodge to repay them on extended payment plans, Grand Bear Lodge’s existing contracts

were ruled null and void pursuant to the Bankruptcy Court’s restructuring order.

       14.      Although the Management Agreement between Grand Bear Lodge and the

Association was rendered null and void pursuant the Bankruptcy Court’s order, Grand Bear

Lodge continued to perform community association management duties for the Association

and continued to do so at all times relevant hereto, including collection of assessments from

Association members.

                                        COUNT I

        (Action under Civil RICO, 18 U.S.C. §1962(a), against Joseph Hook)

       1-14. Plaintiff restates and incorporates by reference paragraphs 1 through 14

above as and for paragraphs 1 through 14 of Count I as though fully set forth herein.

       15.     The Association is defined as a “community association” pursuant to

Section 10 of the Illinois Community Association Manager Licensing and Disciplinary Act

(“CAMLDA”), 225 ILCS 427/1, et seq.

       16.     Pursuant to Section 15 of the CAMLDA, “[i]t shall be unlawful for any

person, corporation, partnership, limited liability company or other entity to provide

community association management services, provide services as a community association

manager, or hold himself, herself, or itself out as a community association manager or



                                                 4
  Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 5 of 26 PageID #:5



community association management firm to any community association in this State,

unless he, she or it holds a current and valid license issued by the Department or is

otherwise exempt form licensure under this Act (underline added).”

       17.     Pursuant to Section 155(a)(1) of CAMLDA, a person who acts or attempts

to act as a community association manager without a license is guilty of a Class 4 felony.

       18.     At all times relevant hereto, Hook, in concert with K. Wolick and S. Wolick,

operated, directed, managed and otherwise controlled Grand Bear Lodge.

       19.     At all times relevant hereto, Grand Bear Lodge acted as the Association’s

community association manager.

       20.     At all times relevant hereto, however, Grand Bear Lodge was not licensed

or otherwise authorized by the State of Illinois to act or provide services as a community

association manager to the Association. Searches of the Illinois Department of Professional

Regulation’s website listing of community association manager licensees does not return

“Grand Bear Lodge, LLC,” “Joseph Hook,” “Joe Hook,” “Susan Wolick,” “Sue Wolick,”

or “Keith Wolick” as licensees. Copies of the Association’s searches dated January 4, 2016

are attached hereto as Exhibit 1.

       21.     During the time that it acted as the Association’s community association

manager without an Illinois license to do so during the time that the CAMLDA was in

effect subsequent to January 1, 2014, Grand Bear Lodge was guilty of a Class 4 felony

under Illinois law.

       22.     While illegally acting as the Association’s community association manager,

Grand Bear Lodge, at the direction and control of Hook, K. Wolick and S. Wolick collected




                                                5
  Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 6 of 26 PageID #:6



assessments from the Association’s members, but failed to deposit said assessments in a

separate Association bank account, in violation of Section 1-65 of the CICA.

       23.     After illegally collecting Association funds, Grand Bear Lodge, at the

direction and under the control of Hook, K. Wolick and S. Wolick commingled such funds

with Grand Bear Lodge’s own funds also in violation of CICA Section 1-65.

       24.     Grand Bear Lodge, at the direction and under the control of Hook, also

failed to deposit Association assessments into the Association’s accounts or timely pay

Association obligations.

       25.     Grand Bear Lodge and Hook also failed to provide a reliable accounting of

the Association’s finances during the entire time that Grand Bear Lodge acted as the

Association’s community association manager.

       26.     Instead, at the direction and under the control of Hook, acting in concert

with K. Wolick and S. Wolick, Grand Bear Lodge misappropriated the Association’s

assessment funds, commingled Association funds with Grand Bear Lodge’s funds, and

applied Association funds to Grand Bear Lodge’s financial obligations to its lenders and/or

other interests of Grand Bear Lodge and also, upon information and belief, to Hook’s

personal obligations and/or interests.

       27.     Grand Bear Lodge’s commingling and misappropriation of the

Association’s funds gained from its illegal collection of Association assessments is

documented in correspondence dated October 8, 2015 drafted by Hook and in another letter

drafted by Grand Bear Lodge’s Controller, Robert Krusec, dated on or about November

20, 2015, the date on which it was received by the Association’s members.




                                                6
  Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 7 of 26 PageID #:7



            28.    Hook, K. Wolick and S. Wolick operated Grand Bear Lodge as an

“enterprise” as defined under 18 U.S.C. § 1961(4).

            29.    Grand Bear Lodge’s continuous, unlawful collection and misappropriation

of Association funds, under the direction and control of Hook, K. Wolick and S. Wolick

on a monthly basis for the entire time that Grand Bear Lodge acted as the Association’s

community association manager, comprises a pattern of racketeering activity defined under

18 U.S.C. § 1961(5).

            30.    As a result of Hook’s racketeering activity the Association has been

damaged in the amount of at least $200,000, but in an amount that will be determined at

trial of this matter.

            WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Joseph Hook on Count I and respectfully

requests that the Court enter an Order:

            1)     Awarding the Association separate treble damages based on the amount of

the Association’s actual damages of at least $200,000, but in an amount to be determined

at trial;

            2)     The Association’s attorney’s fees incurred to prosecute this matter;

            3)     Costs of suit; and

            4)     Such other and further relief as this Court deems fair and equitable.

                                           COUNT II

            (Action under Civil RICO, 18 U.S.C. §1962(a), against Keith Wolick)

            1-22. Plaintiff restates and incorporates by reference paragraphs 1 through 22

above as and for paragraphs 1 through 22 of Count II as though fully set forth herein.



                                                    7
  Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 8 of 26 PageID #:8



       23.     The Association is defined as a “community association” pursuant to

Section 10 of the Illinois Community Association Manager Licensing and Disciplinary Act

(“CAMLDA”), 225 ILCS 427/1, et seq.

       24.     Pursuant to Section 15 of the CAMLDA, “[i]t shall be unlawful for any

person, corporation, partnership, limited liability company or other entity to provide

community association management services, provide services as a community association

manager, or hold himself, herself, or itself out as a community association manager or

community association management firm to any community association in this State,

unless he, she or it holds a current and valid license issued by the Department or is

otherwise exempt form licensure under this Act (underline added).”

       25.     Pursuant to Section 155(a)(1) of CAMLDA, a person who acts or attempts

to act as a community association manager without a license is guilty of a Class 4 felony.

       26.     At all times relevant hereto, K. Wolick, acting in concert with Hook and S.

Wolick, operated, directed, managed and otherwise controlled Grand Bear Lodge.

       27.     At all times relevant hereto, Grand Bear Lodge acted as the Association’s

community association manager.

       28.     At all times relevant hereto, however, Grand Bear Lodge was not licensed

or otherwise authorized by the State of Illinois to act or provide services as a community

association manager to the Association. Searches of the Illinois Department of Professional

Regulation’s website listing of community association manager licensees does not return

“Grand Bear Lodge, LLC,” “Joseph Hook,” “Joe Hook,” “Susan Wolick,” “Sue Wolick,”

or “Keith Wolick” as licensees. See Exhibit 1.




                                                 8
  Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 9 of 26 PageID #:9



        29.     During the time that it acted as the Association’s community association

manager without an Illinois license to do so during the time that the CAMLDA was in

effect subsequent to January 1, 2014, Grand Bear Lodge was guilty of a Class 4 felony

under Illinois law.

        30.     While illegally acting as the Association’s community association manager,

Grand Bear Lodge, at the direction and control of K. Wolick, Hook and S. Wolick,

collected assessments from the Association’s members, but failed to deposit said

assessments in a separate Association bank account, in violation of Section 1-65 of the

CICA.

        31.     After illegally collecting Association funds, Grand Bear Lodge, at the

direction and under the control of K. Wolick, acting in concert with Hook and S. Wolick,

commingled such funds with Grand Bear Lodge’s own funds also in violation of CICA

Section 1-65.

        32.     Grand Bear Lodge, at the direction and under the control of K. Wolick also

failed to timely pay Association obligations or deposit Association assessments into the

Association’s reserves to fund future capital repairs.

        33.     Grand Bear Lodge and K. Wolick also failed to provide a reliable

accounting of the Association’s finances during the entire time that Grand Bear Lodge

acted as the Association’s community association manager.

        34.     Instead, at the direction and under the control of K. Wolick, acting in

concert with Hook and S. Wolick, Grand Bear Lodge misappropriated the Association’s

assessment funds, commingled Association funds with Grand Bear Lodge’s funds, and

applied Association funds to Grand Bear Lodge’s financial obligations to its lenders and/or



                                                 9
 Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 10 of 26 PageID #:10



other interests of Grand Bear Lodge and also, upon information and belief, to K. Wolick’s

personal obligations and/or interests.

            35.   Grand Bear Lodge’s commingling and misappropriation of the

Association’s funds gained from its illegal collection of Association assessments is

documented in correspondence dated October 8, 2015 drafted by Hook and in another letter

drafted by Grand Bear Lodge’s Controller, Robert Krusec, dated on or about November

20, 2015, the date on which it was received by the Association’s members.

            36.   K. Wolick, acting in concert with Hook and S. Wolick, operated Grand Bear

Lodge as an “enterprise” as defined under 18 U.S.C. § 1961(4).

            37.   Grand Bear Lodge’s continuous, unlawful collection and misappropriation

of Association funds, under the direction and control of K. Wolick, Hook, and S. Wolick,

on a monthly basis for the entire time that Grand Bear Lodge acted as the Association’s

community association manager, comprises a pattern of racketeering activity defined under

18 U.S.C. § 1961(5).

            38.   As a result of K. Wolick’s racketeering activity the Association has been

damaged in the amount of at least $200,000, but in an amount that will be determined at

trial of this matter.

            WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Keith Wolick on Count II and respectfully

requests that the Court enter an Order:

            1)    Awarding the Association separate treble damages based on the amount of

the Association’s actual damages of at least $200,000, but in an amount to be determined

at trial;



                                                 10
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 11 of 26 PageID #:11



       2)      The Association’s attorney’s fees incurred to prosecute this matter;

       3)      Costs of suit; and

       4)      Such other and further relief as this Court deems fair and equitable.

                                       COUNT III

        (Action under Civil RICO, 18 U.S.C. §1962(a), against Susan Wolick)

       1-22. Plaintiff restates and incorporates by reference paragraphs 1 through 22

above as and for paragraphs 1 through 22 of Count III as though fully set forth herein.

       23.     The Association is defined as a “community association” pursuant to

Section 10 of the Illinois Community Association Manager Licensing and Disciplinary Act

(“CAMLDA”), 225 ILCS 427/1, et seq.

       24.     Pursuant to Section 15 of the CAMLDA, “[i]t shall be unlawful for any

person, corporation, partnership, limited liability company or other entity to provide

community association management services, provide services as a community association

manager, or hold himself, herself, or itself out as a community association manager or

community association management firm to any community association in this State,

unless he, she or it holds a current and valid license issued by the Department or is

otherwise exempt form licensure under this Act (underline added).”

       25.     Pursuant to Section 155(a)(1) of CAMLDA, a person who acts or attempts

to act as a community association manager without a license is guilty of a Class 4 felony.

       26.     At all times relevant hereto, S. Wolick, in concert with Hook and K. Wolick,

operated, directed, managed and otherwise controlled Grand Bear Lodge.

       27.     At all times relevant hereto, Grand Bear Lodge acted as the Association’s

community association manager.



                                                11
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 12 of 26 PageID #:12



        28.    At all times relevant hereto, however, Grand Bear Lodge was not licensed

or otherwise authorized by the State of Illinois to act or provide services as a community

association manager to the Association. Searches of the Illinois Department of Professional

Regulation’s website listing of community association manager licensees does not return

“Grand Bear Lodge, LLC,” “Joseph Hook,” “Susan Wolick,” “Sue Wolick,” or “Keith

Wolick” as licensees. See Exhibit 1.

        29.    During the time that it acted as the Association’s community association

manager without an Illinois license to do so during the time that the CAMLDA was in

effect subsequent to January 1, 2014, Grand Bear Lodge was guilty of a Class 4 felony

under Illinois law.

        30.    While illegally acting as the Association’s community association manager,

Grand Bear Lodge, at the direction and control of S. Wolick, in concert with Hook and K.

Wolick, collected assessments from the Association’s members, but failed to deposit said

assessments in a separate Association bank account, in violation of Section 1-65 of the

CICA.

        31.    After illegally collecting Association funds, Grand Bear Lodge, at the

direction and under the control of S. Wolick, commingled such funds with Grand Bear

Lodge’s own funds also in violation of CICA Section 1-65.

        32.    Grand Bear Lodge, at the direction and under the control of S. Wolick, also

failed to timely pay Association obligations or deposit Association assessments into the

Association’s reserves to fund future capital repairs.




                                                 12
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 13 of 26 PageID #:13



       33.     Grand Bear Lodge and S. Wolick also failed to provide a reliable accounting

of the Association’s finances during the entire time that Grand Bear Lodge acted as the

Association’s community association manager.

       34.     Instead, at the direction and under the control of S. Wolick, acting in concert

with Hook and K. Wolick, Grand Bear Lodge misappropriated the Association’s

assessment funds, commingled Association funds with Grand Bear Lodge’s funds, and

applied Association funds to Grand Bear Lodge’s financial obligations to its lenders and/or

other interests of Grand Bear Lodge and also, upon information and belief, to S. Wolick’s

personal obligations and/or interests.

       35.     Grand Bear Lodge’s commingling and misappropriation of the

Association’s funds gained from its illegal collection of Association assessments is

documented in correspondence dated October 8, 2015 drafted by Hook and in another letter

drafted by Grand Bear Lodge’s Controller, Robert Krusec, dated on or about November

20, 2015, the date on which it was received by the Association’s members.

       36.     S. Wolick, in concert with Hook and S. Wolick, operated Grand Bear Lodge

as an “enterprise” as defined under 18 U.S.C. § 1961(4).

       37.     Grand Bear Lodge’s continuous, unlawful collection and misappropriation

of Association funds, under the direction and control of S. Wolick, Hook, and K. Wolick,

on a monthly basis for the entire time that Grand Bear Lodge acted as the Association’s

community association manager, comprises a pattern of racketeering activity defined under

18 U.S.C. § 1961(5).




                                                 13
 Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 14 of 26 PageID #:14



            38.    As a result of S. Wolick’s racketeering activity the Association has been

damaged in the amount of at least $200,000, but in an amount that will be determined at

trial of this matter.

            WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Susan Wolick on Count III and respectfully

requests that the Court enter an Order:

            1)     Awarding the Association separate treble damages based on the amount of

the Association’s actual damages of at least $200,000, but in an amount to be determined

at trial;

            2)     The Association’s attorney’s fees incurred to prosecute this matter;

            3)     Costs of suit; and

            4)     Such other and further relief as this Court deems fair and equitable.

                                           COUNT IV

   (Action under Civil RICO, 18 U.S.C. §1962(a), against Grand Bear Lodge LLC)

            1-29. Plaintiff restates and incorporates by reference paragraphs 1 through 29

above as and for paragraphs 1 through 29 of Count IV as though fully set forth herein.

            30.    As a result of Grand Bear Lodge’s racketeering activity the Association has

been damaged in the amount of at least $200,000, but in an amount that will be determined

at trial of this matter.

            WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Grand Bear Lodge LLC on Count IV and

respectfully requests that the Court enter an Order:




                                                    14
 Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 15 of 26 PageID #:15



            1)     Awarding the Association separate treble damages based on the amount of

the Association’s actual damages of at least $200,000, but in an amount to be determined

at trial;

            2)     The Association’s attorney’s fees incurred to prosecute this matter;

            3)     Costs of suit; and

            4)     Such other and further relief as this Court deems fair and equitable.

                                           COUNT V

  (Action for Breach of Implied At Law Contract against Grand Bear Lodge, LLC)

            1-25. Plaintiff restates and incorporates by reference paragraphs 1 through 25

above as and for paragraphs 1 through 25 of Count V as though fully set forth herein.

            26.    After the Bankruptcy Court voided the Management Agreement as part of

its Order resolving Grand Bear Lodge’s bankruptcy petition, Grand Bear Lodge continued

to act as the Association’s community association manager.

            27.    While the terms of the Management Agreement were no longer in effect, a

contract implied in law was formed between Grand Bear Lodge and the Association

whereunder Grand Bear Lodge would continue to perform reasonable and customary

community association manager duties, including collecting assessments, paying

Association obligations, and maintaining and repairing the Association’s common

elements in exchange for being paid a monthly fee.

            28.    The Association fulfilled all of its obligations to Grand Bear Lodge under

the contract implied in law.




                                                    15
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 16 of 26 PageID #:16



       29.     Grand Bear Lodge breached the contact implied in law with the Association

by failing to deposit Association assessment funds collected by Grand Bear Lodge into a

separate Association account and failing to provide an accurate accounting of such funds.

       30.     Instead, Grand Bear Lodge misappropriated the Association’s assessment

funds and used the funds for Grand Bear Lodge’s own purposes.

       31.     As a result of Grand Bear Lodge’s misappropriation and misapplication of

the assessment funds, the Association has been damaged in the amount of at least $200,000.

       WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Grand Bear Lodge LLC on Count V and

respectfully requests that the Court enter an Order:

       1)      Awarding the Association its actual damages in an amount of at least

$200,000, but in an amount to be determined at trial;

       2)      Costs of suit; and

       3)      Such other and further relief as this Court deems fair and equitable.

                                       COUNT VI

       (Action for Breach of Fiduciary Duty against Grand Bear Lodge, LLC)

       1-27. Plaintiff restates and incorporates by reference paragraphs 1 through 27

above as and for paragraphs 1 through 27 of Count VI as though fully set forth herein.

       28.     By virtue of acting as the Association’s community association manager,

Grand Bear Lodge owed a fiduciary duty to the Association pursuant to the CICAA.

       29.     Grand Bear LLC breached its fiduciary duty by:

               a) failing to deposit Association assessment funds into a separate

       Association bank account;



                                                16
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 17 of 26 PageID #:17



               b) commingling Association assessment funds with Grand Bear Lodge’s

       funds; and

               c) misappropriating and using Association assessment funds for Grand

       Bear Lodge’s own purposes.

       30.     The Association has been damaged by Grand Bear Lodge’s breach of

fiduciary duty in the amount of at least $200,000, but which will be proven up at trial.

       WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Grand Bear Lodge LLC on Count VI and

respectfully requests that the Court enter an Order:

       1)      Awarding the Association its actual damages in an amount of at least

$200,000, but in an amount to be determined at trial;

       2)      Costs of suit; and

       3)      Such other and further relief as this Court deems fair and equitable.

                                       COUNT VII

             (Action for Breach of Fiduciary Duty against Joseph Hook)

       1-27. Plaintiff restates and incorporates by reference paragraphs 1 through 27

above as and for paragraphs 1 through 27 of Count VII as though fully set forth herein.

       28.     By virtue of owning, operating, controlling and otherwise directing Grand

Bear Lodge acting as the Association’s community association manager, Joseph Hook

owed a fiduciary duty to the Association pursuant to the CICAA.

       29.     Joseph Hook breached his fiduciary duty by:

               a) failing to deposit Association assessment funds into a separate

       Association bank account;



                                                17
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 18 of 26 PageID #:18



               b) commingling Association assessment funds with Grand Bear Lodge’s

       funds; and

               c) misappropriating and using Association assessment funds for Grand

       Bear Lodge’s own purposes.

       30.     The Association has been damaged by Hook’s breach of fiduciary duty in

the amount of at least $200,000, but which will be proven up at trial.

       WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Joseph Hook on Count VII and respectfully

requests that the Court enter an Order:

       1)      Awarding the Association its actual damages in an amount of at least

$200,000, but in an amount to be determined at trial;

       2)      Costs of suit; and

       3)      Such other and further relief as this Court deems fair and equitable.

                                      COUNT VIII

             (Action for Breach of Fiduciary Duty against Keith Wolick)

       1-27. Plaintiff restates and incorporates by reference paragraphs 1 through 27

above as and for paragraphs 1 through 27 of Count VIII as though fully set forth herein.

       28.     By virtue of owning, operating, controlling and otherwise directing Grand

Bear Lodge acting as the Association’s community association manager, K. Wolick owed

a fiduciary duty to the Association pursuant to the CICAA.

       29.     K. Wolick breached his fiduciary duty by:

               a) failing to deposit Association assessment funds into a separate

       Association bank account;



                                                18
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 19 of 26 PageID #:19



               b) commingling Association assessment funds with Grand Bear Lodge’s

       funds; and

               c) misappropriating and using Association assessment funds for Grand

       Bear Lodge’s own purposes.

       30.     The Association has been damaged by K. Wolick’s breach of fiduciary duty

in the amount of at least $200,000, but which will be proven up at trial.

       WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Keith Wolick on Count VIII and respectfully

requests that the Court enter an Order:

       1)      Awarding the Association its actual damages in an amount of at least

$200,000, but in an amount to be determined at trial;

       2)      Costs of suit; and

       3)      Such other and further relief as this Court deems fair and equitable.

                                          COUNT IX

             (Action for Breach of Fiduciary Duty against Susan Wolick)

       1-27. Plaintiff restates and incorporates by reference paragraphs 1 through 27

above as and for paragraphs 1 through 27 of Count IX as though fully set forth herein.

       28.     By virtue of owning, operating, controlling and otherwise directing Grand

Bear Lodge acting as the Association’s community association manager, S. Wolick owed

a fiduciary duty to the Association pursuant to the CICAA.

       29.     S. Wolick breached her fiduciary duty by:

               a) failing to deposit Association assessment funds into a separate

       Association bank account;



                                                19
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 20 of 26 PageID #:20



               b) commingling Association assessment funds with Grand Bear Lodge’s

       funds; and

               c) misappropriating and using Association assessment funds for Grand

       Bear Lodge’s own purposes.

       30.     The Association has been damaged by S. Wolick’s breach of fiduciary duty

in the amount of at least $200,000, but which will be proven up at trial.

       WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Susan Wolick on Count IX and respectfully

requests that the Court enter an Order:

       1)      Awarding the Association its actual damages in an amount of at least

$200,000, but in an amount to be determined at trial;

       2)      Costs of suit; and

       3)      Such other and further relief as this Court deems fair and equitable.

                                          COUNT X

              (Action for Accounting against Grand Bear Lodge, LLC)

       1-29. Plaintiff restates and incorporates by reference paragraphs 1 through 27

above and paragraphs 28 through 29 of Count X above as and for paragraphs 1 through 29

of Count XI as though fully set forth herein.

       30.     As the Association’s community association manager, Grand Bear Lodge

owed a fiduciary duty to the Association.

       31.     Grand Bear Lodge breached its fiduciary duty to the Association.

       32.     Given Grand Bear Lodge’s control over Association assessment funds,

commingling of the Association’s funds with Grand Bear Lodge’s own funds and funds



                                                20
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 21 of 26 PageID #:21



from other sources, including but not limited to other community interest associations

managed by Grand Bear Lodge, Grand Bear Lodge’s failure to properly and accurately

provide the Association with an accounting of the Association’s funds, the Association

seeks an accounting of its funds currently held by Grand Bear Lodge and/or Association

funds misappropriated and used by Grand Bear Lodge.

       33.       In the absence of an accounting, the Association does not have an adequate

remedy at law.

       WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Grand Bear Lodge LLC on Count X and

respectfully requests that the Court enter an Order:

       1)        Directing Defendant Grand Bear Lodge LLC to provide an accounting of

all Association funds collected, held by and/or used by Grand Bear Lodge LLC for its own

purposes;

       2)        Costs of suit; and

       3)        Such other and further relief as this Court deems fair and equitable.

                                         COUNT XI

            (Action for Constructive Trust against Grand Bear Lodge, LLC)

       1-29. Plaintiff restates and incorporates by reference paragraphs 1 through 29

above as and for paragraphs 1 through 29 of Count XI as though fully set forth herein.

       30.       As the Association’s community association manager, Grand Bear Lodge

owed a fiduciary duty to the Association.

       31.       Grand Bear Lodge breached its fiduciary duty to the Association.




                                                  21
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 22 of 26 PageID #:22



       32.     Given Grand Bear Lodge’s control over Association assessment funds,

commingling of the Association’s funds with Grand Bear Lodge’s own funds and funds

from other sources, including but not limited to other community interest associations

managed by Grand Bear Lodge, Grand Bear Lodge’s failure to properly and accurately

provide the Association with an accounting of the Association’s funds, the Association

seeks an accounting and constructive trust of its funds currently held by Grand Bear Lodge

and/or Association funds misappropriated and used by Grand Bear Lodge.

       WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Grand Bear Lodge LLC on Count XI and

respectfully requests that the Court enter an Order:

       1)      Directing Defendant Grand Bear Lodge LLC to provide an accounting of

all Association funds collected, held by and/or used by Grand Bear Lodge LLC for its own

purposes;

       2)      Imposing a constructive trust over all Association funds collected, held by

and/or used by Grand Bear Lodge LLC for its own purposes;

       3)      Costs of suit; and

       4)      Such other and further relief as this Court deems fair and equitable.

                                       COUNT XII

              (Action for Conversion against Grand Bear Lodge, LLC)

       1-27. Plaintiff restates and incorporates by reference paragraphs 1 through 27

above as and for paragraphs 1 through 27 of Count XII as though fully set forth herein.

       28.     The Association owns all of the assessments collected on its behalf by

Grand Bear Lodge.



                                                22
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 23 of 26 PageID #:23



         29.    Grand Bear Lodge has misappropriated assessments it has collected on

behalf of the Association.

         30.    Grand Bear Lodge does not have an ownership interest in the Association’s

assessment funds.

         31.    Grand Bear Lodge continues to assert control and usage of the Association’s

assessment funds.

         32.    By doing so, Grand Bear Lodge has converted the Association’s assessment

funds.

         33.    The Association has been damaged by Grand Bear Lodge’s conversion of

the assessments in the amount of at least $200,000, an amount that will be proven at trial.

         WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Grand Bear Lodge LLC on Count XII and

respectfully requests that the Court enter an Order:

         1)     Directing Defendant Grand Bear Lodge LLC to provide an accounting of

all Association funds collected, held by and/or used by Grand Bear Lodge LLC for its own

purposes;

         2)     Costs of suit; and

         3)     Such other and further relief as this Court deems fair and equitable.

                                       COUNT XIII

(Action for Civil Conspiracy against Joseph Hook, Keith Wolick and Susan Wolick)

         1-27. Plaintiff restates and incorporates by reference paragraphs 1 through 27

above as and for paragraphs 1 through 27 of Count XIII as though fully set forth herein.




                                                 23
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 24 of 26 PageID #:24



       27.     The Defendants, Hook, K. Wolick and S. Wolick, conspired to deprive

Plaintiff of its possession of the Association assessments and use Association funds for

Defendants’ own purposes.

       28.     Defendants’ unlawful possession of Association funds has damaged

Plaintiff in the amount of at least $200,000.

       WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendants Joseph Hook, Keith Wolick and Susan

Wolick on Count XIII and respectfully requests that the Court enter an Order:

       1)      Directing Defendant Grand Bear Lodge LLC to provide an accounting of

all Association funds collected, held by and/or used by Grand Bear Lodge LLC for its own

purposes;

       2)      Punitive damages;

       3)      Costs of suit; and

       4)      Such other and further relief as this Court deems fair and equitable.

                                       COUNT XIV

              (Action for Constructive Trust against Countryside Bank)

       1-29. Plaintiff restates and incorporates by reference paragraphs 1 through 29

above as and for paragraphs 1 through 29 of Count XIV as though fully set forth herein.

       30.     As the Association’s community association manager, Grand Bear Lodge

owed a fiduciary duty to the Association.

       31.     Grand Bear Lodge breached its fiduciary duty to the Association by failing

commingling of the Association’s funds with Grand Bear Lodge’s own funds and funds




                                                24
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 25 of 26 PageID #:25



from other sources, including but not limited to other community interest associations

managed by Grand Bear Lodge.

       32.      Grand Bear Lodge deposited Association assessment funds in Grand Bear

Lodge’s own account at Countryside Bank on a monthly basis and did not deposit

Association assessment funds in the Association’s own accounts.

       33.      Grand Bear Lodge commingled its own funds with Association funds in

Grand Bear Lodge’s account at Countryside Bank and also, upon information and belief,

withdrew funds out of this same Countryside Bank account to use for Grand Bear Lodge’s

own purposes.

       34.      Countryside currently holds Association funds in Grand Bear Lodge’s

account.

       35.      Countryside Bank and Grand Bear Lodge have not provided the Association

with an accounting of Association funds held and transferred out of Grand Bear Lodge’s

account at Countryside Bank.

       36.      By failing to properly and accurately provide the Association with an

accounting of the Association’s funds, the Association seeks an accounting of its funds

currently held by Countryside Bank in Grand Bear LLC’s account and to impose a

constructive trust over such funds.

       WHEREFORE, Plaintiff, the Grand Bear Lakes Townhome Association, prays for

judgment in its favor and against Defendant Grand Bear Lodge LLC on Count XI and

respectfully requests that the Court enter an Order:




                                                25
Case: 1:16-cv-00267 Document #: 1 Filed: 01/08/16 Page 26 of 26 PageID #:26



       1)     Directing Defendant Countryside Bank to provide an accounting of all

Association funds deposited in or transferred out of Defendant Grand Bear Lodge LLC’s

account at Countryside Bank;

       2)     Imposing a constructive trust over all Association funds on deposit in Grand

Bear Lodge LLC’s account at Countryside Bank;

       3)     Costs of suit; and

       4)     Such other and further relief as this Court deems fair and equitable.


                                                    Respectfully submitted,

                                                    BOARD OF DIRECTORS OF THE
                                                    GRAND BEAR LAKES
                                                    TOWNHOME ASSOCIATION


                                                    By: s/ Kevin A. Sterling________
                                                            One of Its Attorneys



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                                               26
